         Case
       Case    3:23-cv-00782-YY Document
            2:16-md-02740-JTM-MBN        6-489885
                                   Document    FiledFiled
                                                     05/22/23    Page
                                                          04/07/20    1 of18of 8
                                                                   Page




                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Elizabeth Kahn, No. 16-17039                        )


                                 ORDER AND REASONS

         Before the Court is a Motion for Summary Judgment Based on the
Statute of Limitations (Doc. 9295). The Court held oral argument on the
Motion on March 11, 2020. For the following reasons, the Motion is DENIED.


                                       BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         Plaintiff Elizabeth Kahn was diagnosed with breast cancer in 2008 at
the age of 50. As part of her treatment, she participated in a clinical trial
involving Taxotere. In May 2008, she began her chemotherapy regimen, which
consisted of Taxotere, a drug called Avastin, and several other drugs. She
finished with this chemotherapy regimen in October 2008. She testified that


1   Docetaxel is the generic version of Taxotere.
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-489885
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       04/07/20    2 of28of 8
                                                                Page



in April 2009, she made her first inquiry with a doctor, her gynecologist, about
her persisting hair loss. She further testified that sometime in 2009 or 2010,
she asked her oncologist when her hair would fully regrow, and in July 2009,
she spoke to her dermatologist about her hair.
       Not long after Kahn completed her chemotherapy with Taxotere, she
underwent breast surgery to remove a tumor. After surgery, she had “After
surgery” treatment, which involved the administration of Avastin. She
completed her treatment with Avastin in July 2009.
       Kahn filed her lawsuit in December 2017, several years after she
completed her cancer treatment and lost her hair. She took action only after
she learned of an attorney advertisement in 2016. The ad described the alleged
link between Taxotere and permanent hair loss. In the instant Motion,
Defendants argue that because Kahn waited years before filing suit, her claims
are prescribed.


                                 LEGAL STANDARD

       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 When
considering a summary judgment motion, the Court must view the entire
record in the light most favorable to the non-moving party and indulge all
reasonable inferences in that party’s favor. 4




2 FED. R. CIV. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Crawford v. Formosa Plastics Corp., 234 F.3d 899, 902 (5th Cir. 2000).


                                             2
        Case
      Case    3:23-cv-00782-YY Document
           2:16-md-02740-JTM-MBN        6-489885
                                  Document    FiledFiled
                                                    05/22/23    Page
                                                         04/07/20    3 of38of 8
                                                                  Page



                              LAW AND ANALYSIS
         Defendants argue that summary judgment is warranted for two reasons:
(1) the untimeliness of this case is apparent from the pleadings; and (2) the
evidence shows that contra non valentem does not apply. Defendants argue
that Plaintiff was aware of her alleged injury six months after she completed
chemotherapy and that this is when prescription began to run. Defendants
point to the Master Complaint in the MDL, defining permanent chemotherapy-
induced alopecia (“PCIA”) as “an absence of or incomplete hair regrowth six
months beyond the completion of chemotherapy.” 5 Highlighting the fact that
in her Short Form Complaint, Kahn incorporated the Master Complaint by
reference, Defendants aver that the prescriptive period began to run six
months after Kahn completed chemotherapy. Defendants posit that Kahn
completed her breast cancer treatment in July 2009 and that the one-year
prescription period began to run in January 2010. According to Defendants,
when Kahn filed her complaint in December 2017, her case had prescribed.
         Defendants also argue that contra non valentem does not apply because
Plaintiff failed to investigate her claim. They note that although Kahn talked
to her oncologist, Dr. Zoe Larned, about her hair thinning, she never asked him
about the cause of it. Defendants argue that a Plaintiff should not be able to
toll prescription simply because she told her doctor about changes in her hair.
Defendants further argue that any conversations Kahn had with doctors
during her chemotherapy treatment, before her injury was realized, should not
serve to toll prescription. Kahn testified that around April 2009 she asked her
gynecologist, Dr. Margaret Roberie, about her hair thinning. Dr. Roberie told
Kahn that her age could be causing her hair loss. Defendants aver, however,



5   Doc. 9295-13.

                                         3
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-JTM-MBN        6-489885
                               Document    FiledFiled
                                                 05/22/23    Page
                                                      04/07/20    4 of48of 8
                                                               Page



that this inquiry has no bearing on the contra non valentem analysis because
Kahn’s injury had not yet manifested itself. According to Defendants, Plaintiff
Kahn has not shown reliance as required by contra non valentem.
      In response, Plaintiff first argues that she had no actual or constructive
knowledge of her injury until she learned of the attorney ad in 2016. She avers
that she reasonably believed her hair would return because she was told her
hair loss would be temporary.
      Plaintiff argues that even if she had knowledge of her injury before 2016,
contra non valentem tolls the prescription period. She avers that she made
three inquiries to her physicians about her hair loss. She disputes that she
spoke to her gynecologist during her treatment and says that this conversation
occurred after her treatment with Taxotere. She explains that she finished her
chemotherapy with Taxotere in October 2008. After this, she underwent breast
surgery and “After surgery” treatment. The “After surgery” treatment involved
the administration of a drug called Avastin which is not chemotherapy and is
not associated with hair loss. Her treatment with Avastin concluded in July
2009. According to Plaintiff, her injury was realized six months after her
treatment with Taxotere, not six months after her “After surgery” treatment
as Defendants suggest. Thus, Plaintiff argues that when she spoke to her
gynecologist in April 2009, this was after her injury was realized.
      Kahn avers that in addition to inquiring with her gynecologist, she
inquired with her oncologist, Dr. Larned, who was unable to provide her with
a specific timeline for when her hair would regrow. Lastly, Kahn avers that in
July 2009, a dermatologist advised her to take Biotin to encourage faster hair




                                       4
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-489885
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       04/07/20    5 of58of 8
                                                                Page



regrowth. Kahn avers that in light of these inquiries, she reasonably believed
her hair would grow back until she learned of the attorney ad in 2016.
       Under Louisiana Civil Code article 3492, the prescriptive period for
products liability claims is one year. 6 Generally, the period begins to run from
the day the injury or damage is sustained. 7 “If the face of the petition shows
that the prescriptive period has already elapsed, the plaintiff has the burden
of establishing that suspension, interruption or renunciation of prescription
has occurred.” 8
       The doctrine of contra non valentem “provides some grace for those
plaintiffs who are unaware that their injury was caused by a tort.” 9 The
doctrine states that prescription begins to run when a plaintiff has “actual or
constructive knowledge of facts indicating to a reasonable person that he or
she is the victim of a tort.” 10 This occurs “when the plaintiff has actual or
constructive knowledge of a causal relationship between the object or product
and the injury.” 11 “There is no requirement that a patient be informed by an
attorney or physician of a possible [claim] before prescription begins to run.” 12
Rather, prescription begins to run “when there is enough notice to call for an
inquiry about a claim, not when an inquiry reveals the facts or evidence that
specifically outline the claim.” 13 Accordingly, to toll prescription, a plaintiff
who suspects that something is wrong must act reasonably to discover the

6 LA. CIV. CODE art. 3492. See also In re: Xarelto (Rivaroxaban) Prods. Liab. Litig., 2017 WL
  4517287, at *2 (E.D. La. Oct. 10, 2017).
7 Carter v. Matrixx Initiatives, Inc., 391 F. App’x 343, 344 (5th Cir. 2010).
8 Hoerner v. Wesley-Jensen, 684 So. 2d 508 (La. App. 4 Cir. 1996).
9 Xarelto, 2017 WL 4517287, at *2.
10 Id. (quoting Bailey v. Khoury, 891 So.2d 1268, 1276 (La. 2005)) (internal quotations

  omitted).
11 Id.
12 Id. (quoting Breaux v. Danek Med., No. 95-1730, 1999 WL 64929, at *6 (E.D. La. Feb. 4,

  1999)) (internal quotations omitted).
13 Luckett v. Delta Airlines, Inc., 171 F.3d 295, 300 (5th Cir. 1999).




                                             5
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-489885
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        04/07/20    6 of68of 8
                                                                 Page



cause of the problem; otherwise, contra non valentem will not apply. 14 “The
ultimate issue is the reasonableness of the [plaintiff’s] action or inaction, in
light of his education, intelligence, the severity of the symptoms, and the
nature of the defendant’s conduct.” 15
       This Court agrees with Defendants that Plaintiff’s case is prescribed on
the face of the pleadings. Plaintiff identifies her injury as PCIA. In her Short
Form Complaint, she incorporates the Master Complaint, which defines PCIA
as “an absence of or incomplete hair regrowth six months beyond the
completion of chemotherapy.” 16 Kahn completed her Taxotere treatment in
October 2008, which means that the one-year prescriptive period began in
April 2009 and ended in April 2010. 17 On the face of the pleadings, when Kahn
filed her complaint in December 2017, her case had prescribed. Even setting
aside the definition of PCIA in the Master Complaint, Kahn knew or should
have known six months after her treatment that something was amiss when
her hair had not grown back as she expected.
       Based on the evidence, however, the Court finds that there is an issue of
fact on whether Plaintiff acted reasonably to discover the cause of her hair loss.
In a prior ruling, this Court discussed the case of Hoerner v. Wesley-Jensen. 18
In Hoerner, the plaintiff’s doctor told her that her eye infection was likely from
a “bug” she caught. 19 However, some time later, the plaintiff read an article
saying that extended-wear           contacts present a significant risk of eye



14 See Chevron USA, Inc. v. Aker Mar., Inc., 604 F.3d 888, 894 (5th Cir. 2010).
15 Campo v. Correa, 828 So. 2d 502, 511 (La. 2002).
16 Doc. 4407.
17 The Court finds that Plaintiff’s injury was realized six months after taking Taxotere, not

  six months after she finished her “After surgery” treatment as Defendants suggest.
18 Hoerner, 684 So. 2d 508.
19 Id. at 514.




                                             6
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-489885
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        04/07/20    7 of78of 8
                                                                 Page



infections. 20 The plaintiff filed suit weeks after reading the article. 21 The
Hoerner court found that the plaintiff was reasonable in relying on what her
doctor told her until she learned otherwise. 22 Applying contra non valentem,
the court deemed her inaction reasonable:
       Not until Mrs. Hoerner read in the popular press in 1989 that
       users of extended-wear contact lenses were more likely to contract
       eye infections than those using daily-wear lenses did she suspect
       that she had been injured by another’s conduct, rather than by a
       “bug” to which anyone could have been exposed. 23
Because the Hoerner plaintiff conducted an investigation and reasonably relied
on what she learned in her investigation, prescription was tolled.
       Like the Hoerner plaintiff, Plaintiff Kahn may have had reason to believe
that something other than Defendants’ conduct caused her injury. Dr. Roberie,
for example, told Kahn that her hair loss may be due to her age. Kahn testified
as follows:
                 Q:   Have you ever asked any health care provider
                      why they thought your hair is thinner than it
                      was before chemotherapy?

                 A:   I talked once to my gynecologist, and her
                      comments were back -- her comment to me was,
                      Well, as you age, your hair gets thinner.

                 Q:   And which gynecologist was this?

                 A:   Dr. Roberie.

                 Q:   So have you considered whether the current
                      condition of your hair is affected by the aging
                      process?


20 Id. at 509.
21 Id. at 508.
22 Id. at 514.
23 Id. at 514.




                                          7
         Case
       Case    3:23-cv-00782-YY Document
            2:16-md-02740-JTM-MBN        6-489885
                                   Document    FiledFiled
                                                     05/22/23    Page
                                                          04/07/20    8 of88of 8
                                                                   Page



                 A:     I was 50 at the time, and most 50-year-old’s hair
                        do not thin. You know, 80, maybe, but not 50. So
                        when she told me that, I was a little taken
                        aback, but -- so I dropped it. 24

         Based on the evidence, the Court finds that there is an issue of fact on
whether contra non valentem applies to toll prescription for Plaintiff. A jury
will have to consider whether Plaintiff was reasonable in relying on such
statements from her doctors and whether Plaintiff was reasonable in failing to
attribute      her injury to Taxotere until she learned of the attorney
advertisement years after she sustained her injury. Accordingly, the Court
denies Defendants’ Motion.



                                       CONCLUSION

         Accordingly, for the foregoing reasons, Defendants’ Motion for Summary
Judgment Based on the Statute of Limitations (Doc. 9295) is DENIED.


         New Orleans, Louisiana this 7th day of April, 2020.




                                                 JANE TRICHE MILAZZO
                                                 UNITED STATES DISTRICT JUDGE




24   Doc. 9418-17 (Ex. P) (pp. 257–58 of deposition).

                                                8
